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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

IVETTE M. MARTÍNEZ GONZÁLEZ, ET AL.,             CIVIL No. 16-2077 (GAG-BJM)

      Plaintiffs,

             v.

CATHOLIC SCHOOLS OF THE
ARCHDIOCESES OF SAN JUAN PENSION
PLAN, ET AL,

    Defendants.
NORMA I. CARDOZA ESTREMERA, ET AL.,              CIVIL No. 16-2318 (GAG-BJM)

      Plaintiffs,

             v.

COLEGIO PADRE BERRÍOS, ET AL.,

      Defendants.


 MOTION FOR LEAVE TO FILE EXHIBIT IN SPANISH LANGUAGE AND
FOR EXTENSION OF TIME TO FILE CERTIFIED ENGLISH TRANSLATION

TO THE HONORABLE COURT:

      COMES NOW co-defendants in Civil No. 16-2077, Juan Santa (“Mr. Santa”) and

Rosa Figueroa (“Mrs. Figueroa”, together with Mr. Santa “Co-defendants”), through the

undersigned counsel, and very respectfully state and pray as follows:

      Today, Co-defendants filed its Informative Motion on Docket 152, Requesting

Entry of Order and Further Extension of Time to Submit Motion for Summary

Judgment on the Church Plan Exemption Defense (“Informative Motion”) (Dkt. No.

167) together with one (1) exhibit, Exhibit A, which includes copy of various electronic

communications with plaintiffs’ counsel that are in Spanish language. (Dkt. No. 167-1).

Accordingly, Co-defendants respectfully requests this Honorable Court to grant leave of
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Court to submit certified English translations of said correspondence within the next ten

(10) business days.

      WHEREFORE, Co-defendants respectfully request this Honorable Court to

grant leave of Court to submit certified English translations within the next ten (10)

business days, to expire on January 2nd, 2017 and, in the meantime, allow Co-

defendants to submit the referred exhibit in Spanish language in support of its

Informative Motion (Dkt. No. 167), pending receipt of certified English translations.

      RESPECTFULLY SUBMITTED.

      In San Juan, Puerto Rico, this 20th of December of 2017.

       IT IS HEREBY CERTIFIED that on this same date a true and exact copy of the
foregoing motion was filed electronically with the Clerk of the Court via the CM/ECF
system, which will send notification of such filing to all attorneys of record.


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